
 1  The People of the State of Colorado, Plaintiff-Appellee,  v.  Darrick Damon Alexander, Defendant-Appellant. No. 20CA1600Court of Appeals of Colorado, Third DivisionJanuary 27, 2022
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                City
      and County of Denver District Court No. 07CR6666 Honorable
      John W. Madden IV, Judge
    
    
               
      OPINION
    
    
               
      LIPINSKY J., JUDGE
    
    
               ORDER
      AFFIRMED
    
    
                Jones
      and Gomez, JJ., concur.
    
    